
Upon consideration of the petition filed on the 19th of October 2018 by Defendants in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 9th of May 2019."
Upon consideration of the petition filed by Defendants on the 1st of November 2018 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 9th of May 2019."
The following order has been entered on the motion filed on the 1st of November 2018 by Defendants for Temporary Stay:
"Motion Dissolved by order of the Court in conference, this the 9th of May 2019."
Ervin and Davis, J. recused
